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                                                                           May 5, 2025

 Via ECF
 Hon. Gary R. Brown
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

                         Re:      Davis v. State University of New York, et al
                                  Docket No.: 2:24-cv-08905

 Dear Hon. Judge Brown:

         This firm represents Plaintiff Brittany Davis in the above-referenced action. We
 respectfully submit this letter in response to Defendant State University of New York’s Stony
 Brook University Hospital’s (“Stony Brook”) letter motion requesting a pre-motion conference in
 anticipation of filing a motion to dismiss. Initially, we note that Plaintiff opposes Stony Brook’s
 application only to the extent that it seeks to dismiss Plaintiff’s retaliation claims under Title VII
 and Title IX, the second and fourth causes of action in Plaintiff’s Complaint.

          Stony Brook’s argument as to these claims is confined solely to the contention that it was
 not aware of any complaint of sexual harassment made by Plaintiff and, therefore, could not have
 retaliated against Plaintiff. However, this ignores the well-established principle that “the
 knowledge requirement is met if the legal entity was on notice” and nothing more than “general
 corporate knowledge that the plaintiff has engaged in a protected activity” is required. Papelino
 v. Albany Coll. of Pharm. of Union Univ., 633 F.3d 81, 92 (2d Cir. 2011) (internal quotations
 omitted).

         As stated in the Complaint, Plaintiff was sexually harassed by Dr. Elliot Duboys (“Dr.
 Duboys”)1 while interviewing for a residency program jointly administered by Stony Brook and
 the other defendants (referred to in the Complaint and herein as “the Program”). (Compl. ¶¶ 18,
 31-38). Plaintiff thereafter filed a complaint of sexual harassment with Dr. Robert Yost (“Dr.


 1
  Stony Brook claims that Dr. Duboys is not employed by Stony Brook. However, according to Dr. Duboys’ online
 biography, he is an Associate Professor at Stony Brook. See Elliot B. Duboys, MD, FACS | Plastic Surgeon
 Huntington, NY | Long Island (last visited May 5, 2025).
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 Yost”), who is affiliated with not only the Program but also with Stony Brook.2 (Compl. ¶ 62).
 Moreover, after receiving the complaint, Dr. Yost responded on behalf of the Program, saying that
 the Program takes such complaints very seriously and the Program would conduct a full
 investigation. (Compl. ¶ 62). Thus, considering that Stony Brook is a member entity of the
 Program, which expressly acknowledged receipt, there is at least a minimal inference, sufficient
 to survive a motion to dismiss, that Stony Brook was aware of Plaintiff’s complaint.

            We thank the Court for its time and attention to this matter.

                                                                          Respectfully submitted,



                                                                          MARJORIE MESIDOR
                                                                          mm@marjoriemesidor.com




 2
     See https://www.numc.edu/education/academic-affairs/clinical-leadership/ (last visited May 5, 2025).
